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IN THE UNITED STATES DISTRICT COURT FOR THE

WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,
Plaintiff,
No. CR-19-315-PRW

-VS-

SHAUN LARON RUSSELL, JR.,

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Defendant.

PLEA AGREEMENT
Introduction

1. This document, in conjunction with a Supplement filed contemporaneously
under seal, contains the entire plea agreement between defendant, Shaun Laron Russell,
Jr., and the United States through its undersigned attorney. No other agreement or promise
exists, nor may any additional agreement be entered into unless in writing and signed by
all parties. Any unilateral modification of this agreement is hereby rejected by the United
States. This agreement applies only to the criminal violations described and does not apply
to any civil matter or any civil forfeiture proceeding except as specifically set forth. This
agreement binds only the United States Attorney’s Office of the Western District of
Oklahoma and does not bind any other federal, state, or local prosecuting, administrative,

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24,2620, the offer is withdrawn.

or reg IE authority. If defendant does not accept the terms of this agreement by Awgust
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Guilty Plea

2. Defendant agrees to enter a plea of guilty to a single count Superseding
Information charging Conspiracy to Commit Wire Fraud in violation of 18 U.S.C. § 371.
To be found guilty of violating 18 U.S.C. § 371, as charged in the Superseding Information,
defendant must admit that: (1) he agreed with at least one other person to violate the law;
(2) one of the conspirators engaged in at least one overt act furthering the conspiracy’s
objective; (3) he knew the essential objective of the conspiracy; (4) he knowingly and
voluntarily participated; and (5) there was interdependence among the members of the
conspiracy; that is, the members, in some way or manner, intended to act together for their
shared mutual benefit within the scope of the conspiracy charged.

Maximum Penalty, Restitution, and Special Assessments

3. The maximum penalty that could be imposed as a result of this plea is 5 years
of imprisonment or a fine of $250,000, or both such fine and imprisonment, as well as a
mandatory special assessment of $100 and a term of supervised release of 3 years.

In addition to the punishment described above, a plea of guilty can affect
immigration status. If defendant is not a citizen of the United States, a guilty plea may
result in deportation and removal from the United States, may prevent him from ever
lawfully reentering or remaining in the United States, and may result in the denial of
naturalization.

4. In addition, the Court must order the payment of restitution to any victim(s)

of the offense. Pursuant to 18 U.S.C. §§ 3663(a)(3) and 3663A, the parties further agree
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that, as part of the sentence resulting from defendant’s plea, the Court will enter an order
of restitution to all victims of defendant’s relevant conduct as determined by reference to
the United States Sentencing Guidelines.

5. Defendant agrees to pay the special assessment due the United States to the
Office of the United States Court Clerk immediately following sentencing. Defendant
understands that any fine or restitution ordered by the Court is immediately due unless the
Court provides for payment on a date certain or in installments.

6. For certain statutory offenses, the Court must also impose a term of
supervised release, which defendant will begin to serve after being released from custody.
For all other offenses, the Court may impose a term of supervised release to be served
following release from custody. During the term of supervised release, defendant will be
subject to conditions that will include prohibitions against violating local, state, or federal
law, reporting requirements, restrictions on travel and residence, and possible testing for
controlled substance use. If defendant violates the conditions of his supervised release, the
Court may revoke his supervised release and sentence him to an additional term of
imprisonment. This additional term of imprisonment would be served without credit for
the time defendant successfully spent on supervised release. When combined, the original
term of imprisonment and any subsequent term of imprisonment the Court imposes may

exceed the statutory maximum prison term allowable for the offense.
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Financial Disclosures

7. Defendant agrees to disclose all assets in which defendant has any interest or
over which defendant exercises control, directly or indirectly, including those held by a
spouse, nominee, or any other third party. Upon request by the United States, defendant
agrees (1) to complete truthfully and sign under penalty of perjury a Financial Statement
of Debtor by the change-of-plea hearing, or a date otherwise agreed to by the United States,
and (2) to provide updates with any material changes in circumstances, as described in 18
U.S.C. § 3664(k), within seven days of the event giving rise to the changes. Defendant
understands that the United States will take defendant’s compliance with these requests
into account when it makes a recommendation to the Court regarding defendant’s
acceptance of responsibility.

8. Defendant also expressly authorizes the United States Attorney’s Office to
obtain a credit report on defendant, in order to evaluate defendant’s ability to satisfy any
financial obligations imposed by the Court. Finally, defendant agrees to notify the
Financial Litigation Unit (“FLU”) of the United States Attorney’s Office and to obtain
permission from FLU before defendant transfers any interest in property with a value
exceeding $1,000, owned directly, indirectly, individually, or jointly by defendant,
including any interest held or owned under any name, including trusts, partnerships, or
corporations. Defendant acknowledges a continuing obligation to notify and obtain

‘permission from FLU for any transfers of the above-described property until full
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satisfaction of any restitution, fine, special assessment, or other financial obligations
imposed by the Court.
Sentencing Guidelines

9. The parties acknowledge that 18 U.S.C. § 3553(a) directs the Court to
consider certain factors in imposing sentence, including the Sentencing Guidelines
promulgated by the United States Sentencing Commission. Consequently, although the
parties recognize that the Sentencing Guidelines are only advisory, they have entered into
certain stipulations and agreements with respect to the Guidelines. Based upon the
information known to the parties on the date this agreement is executed, they expect to
take, but are not limited to, the following positions at sentencing: (1) the parties agree that
the loss amount increase pursuant to USSG § 2B1.1(b)(1) will not exceed 12; (2) the parties
agree the scheme did not involve sophisticated means as contemplated by USSG §
2B1.1(b)(10)(C); (3) the parties agree defendant should receive a 2-level downward
adjustment for acceptance of responsibility pursuant to USSG § 3E1.1(a), if he commits
no further crimes, does not falsely deny or frivolously contest relevant conduct, and fully
complies with all of the other terms of this agreement. Further, to the extent the Court
finds defendant qualifies for that 2-level downward adjustment and USSG § 3E1.1(b) is
applicable, the government agrees to move for the additional 1-level downward adjustment
under § 3E1.1(b), if defendant accepts the terms of this plea agreement by the deadline

established in Paragraph 1.
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Apart from any expressed agreements and stipulations, the parties reserve the right
to advocate for, and present evidence relevant to, other Guideline adjustments and
sentencing factors for consideration by the U.S. Probation Office and the Court.

The parties have entered into this plea agreement under the provisions of Rule
11(c)(1)(A) & (B). Defendant acknowledges and understands that the Court is not bound
by, nor obligated to accept, these stipulations, agreements, or recommendations of the
United States or defendant. And, even if the Court rejects one or more of these stipulations,
agreements, or recommendations, that fact alone would not allow defendant to withdraw
his plea of guilty. Upon defendant’s signing of this plea agreement, the United States
intends to end its investigation of the allegations in the Information as to defendant, except
insofar as required to prepare for further hearings in this case, including but not limited to
sentencing, and to prosecute others, if any, involved in defendant’s conduct. The United
States agrees to end any investigation directed specifically at the foregoing stipulations,
agreements, or recommendations as to defendant. However, subject to the terms and
conditions of this plea agreement (particularly the Plea Supplement), the United States
expressly reserves the right to take positions that deviate from the foregoing stipulations,
agreements, or recommendations in the event that material credible evidence requiring
such a deviation is discovered during the course of its investigation subsequent to the
signing of this agreement or arises from sources independent of the United States, including

the U.S. Probation Office.
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Waiver of Right to Appeal and Bring Collateral Challenge

10. Defendant understands that the Court will consider those factors in 18 U.S.C.
§ 3553(a) in determining his sentence. Defendant also understands that the Court has
jurisdiction and authority to impose any sentence within the statutory maximum for the
offense(s) to which he is pleading guilty. Defendant further understands that 28 U.S.C. §
1291 and 18 U.S.C. § 3742 give him the right to appeal the judgment and sentence imposed
by the Court. Acknowledging all this, and in exchange for the promises and concessions
made by the United States in this plea agreement, defendant knowingly and voluntarily
waives the following rights:

a. Defendant waives his right to appeal his guilty plea, and any other
aspect of his conviction, including but not limited to any rulings on pretrial suppression
motions or any other pretrial dispositions of motions and issues.

b. Except as stated immediately below, defendant waives his right to
appeal his sentence as imposed by the Court, including any restitution, and the manner in
which the sentence is determined. If the sentence is above the advisory Guideline range
determined by the Court to apply to his case, this waiver does not include the defendant’s
right to appeal specifically the substantive reasonableness of his sentence.

C. Defendant waives his right to collaterally challenge or move to
modify (under 28 U.S.C. § 2255, 18 U.S.C. § 3582(c)(2), or any other ground) his
conviction or sentence, including any restitution, except with respect to claims of

ineffective assistance of counsel.
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Defendant acknowledges that these waivers remain in full effect and are
enforceable, even if the Court rejects one or more of the positions of the United States or
defendant set forth in paragraph 9.

11. Except as stated immediately below, the United States agrees to waive its
right under 18 U.S.C. § 3742 to appeal the sentence imposed by the Court and the manner
in which the sentence was determined. If the sentence is below the advisory Guideline
range determined by the Court to apply to this case, this waiver does not include the right
of the United States to appeal specifically the substantive reasonableness of the sentence.

Waiver of FOIA and Privacy Act Rights

12. Defendant waives all rights, whether asserted directly or by a representative,
to request of or receive from any department or agency of the United States any records
pertaining to the investigation or prosecution of this case, including but not limited to
records that defendant may seek under the Freedom of Information Act, 5 U.S.C. § 552, or
the Privacy Act of 1974, 5 U.S.C. § 522a.

Obligations of Defendant

13. Defendant shall commit no further crimes. It is understood that should
defendant commit any further crimes or should it be determined that he has knowingly
given false, incomplete, or misleading testimony or information, or should he otherwise
violate any provision of this agreement, the United States may declare this agreement null
and void and prosecute defendant for any and all his federal criminal violations, including

perjury and obstruction of justice. Any prosecution within the scope of this investigation

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that is not time-barred by the applicable statute of limitations on the date of the signing of
this agreement may be brought against defendant, notwithstanding the expiration of the
statute of limitations between the signing of this agreement and the commencement of that
prosecution. Defendant hereby waives all defenses based on the statute of limitations with
respect to any prosecution that is not time-barred on the date that this agreement is signed.

14. The parties also recognize that if the Court determines defendant has violated
any provision of this agreement or authorizes defendant to withdraw from his knowing and
voluntary guilty plea entered pursuant to this agreement: (a) all written or oral statements
made by defendant to the Court or to federal or other designated law enforcement agents,
any testimony given by defendant before a grand jury or other tribunal, whether before or
after the signing of this agreement, and any leads from those statements or testimony, shall
be admissible in evidence in any criminal proceeding brought against defendant; and (b)
defendant shall assert no claim under the United States Constitution, any statute, Federal
Rule of Criminal Procedure 11(f), Federal Rule of Evidence 410, or any other federal rule
or law that those statements or any leads from those statements should be suppressed.
Defendant knowingly and voluntarily waives the rights described in this paragraph as of
the time he signs this agreement.

The Obligations of the United States

15. If defendant enters a plea of guilty as described above and fully meets all

obligations under this agreement, the United States Attorney’s Office for the Western

District of Oklahoma will not further prosecute defendant for any crimes outlined in the

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Indictment and Superseding Information or for any criminal tax violations of Title 26 of
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the United States Code for tax years 2014 through 2018. The United States Attorney’s BR
Office for the Western District of Oklahoma further agrees to not prosecute defendant for
receiving and possessing a firearm while under Indictment in the instant case. This
agreement does not provide any protection against prosecution for any crime not
specifically described above. The United States agrees to dismiss the Indictment after the
sentencing hearing.

16. It is understood that the sentence to be imposed upon defendant is within the
sole discretion of the Court. The United States does not make any promise or
representation as to what sentence defendant will receive. The United States reserves the
right to inform the Probation Office and the Court of the nature and extent of defendant’s
activities with respect to this case and all other activities of defendant which the United
States deems relevant to sentencing.

Signatures

17. By signing this agreement, defendant acknowledges that he has discussed its
terms with his attorney and understands and accepts those terms. Further, defendant
acknowledges that this document, in conjunction with the Plea Supplement filed
contemporaneously under seal, contains the only terms of the agreement concerning his

plea of guilty in this case, and that there are no other deals, bargains, agreements, or

understandings which modify or alter these terms.
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Dated this|O* Gay of Sete , 2020.

APPROVED:

 

BRANDON HALE
Deputy Chief, Criminal Division

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TIMOTHY J. DOWNING
United States Attorney

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